         Case: 1:18-cv-02251 Document #: 29 Filed: 06/12/18 Page 1 of 3 PageID #:82



                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS

    KIMBERLY PARKER,

           Plaintiff,                                   Case No.: 1:18-cv-02251
                                                        Hon. Judge Sara L. Ellis
    v.

    CAPITAL ONE BANK (USA), N.A., and
    TRANS UNION LLC,

           Defendants.

               DEFENDANT’S MOTION FOR LEAVE TO SUBSTITUTE COUNSEL

          Defendant Capital One Bank (USA), N.A. (“Capital One”), pursuant to Local Rule

83.17, respectfully requests leave to substitute counsel of record, and states as follows:

          1.      Counsel of record for Capital One is Jeff Pilgrim and Amy R. Jonker of Pilgrim

Christakis LLP.

          2.      Capital One wishes to substitute Charity A. Olson of Brock & Scott, PLLC as its

counsel in this matter to continue settlement discussions with Plaintiff’s counsel.

          3.      Ms. Olson is a member of the trial bar, has tried cases in this District, and is

prepared to represent Capital One in this action.

          4.      The requested substitution has not been made to stall, delay or otherwise thwart

the orderly progression of this case.

          5.      Capital One consents to Ms. Olson’s substitution as counsel in this action.

          6.      Counsel requests that all future pleadings served on Capital One shall be

furnished to Charity A. Olson, Esq., Brock & Scott, PLLC, 2723 S. State St., Ste. 150, Ann

Arbor, MI 48104, charity.olson@brockandscott.com.




                                                    1
 
       Case: 1:18-cv-02251 Document #: 29 Filed: 06/12/18 Page 2 of 3 PageID #:83



         WHEREFORE, Defendant Capital One Bank (USA), N.A. respectfully requests leave

for Jeff Pilgrim and Amy R. Jonker of the law firm of Pilgrim Christakis, LLP to withdraw as

counsel for Capital One, and leave for Charity A. Olson of the law firm of Brock & Scott, PLLC

to file her appearance on behalf of Capital One in this action.



    Dated: June 12, 2018                             Respectfully Submitted,

                                                     By: /s/Amy R. Jonker

                                                     Jeff Pilgrim
                                                     Pilgrim Christakis, LLP
                                                     321 North Clark
                                                     26th Floor
                                                     Chicago, IL 60654
                                                     Tel: (312) 939-0923
                                                     Fax: (312) 939-0983
                                                     Email: jpilgrim@pilgrimchistakis.com

                                                     Amy R. Jonker
                                                     Pilgrim Christakis, LLP
                                                     321 North Clark
                                                     26th Floor
                                                     Chicago, IL 60654
                                                     Tel: (312) 718-6360
                                                     Fax: (312) 939-0983
                                                     Email: ajonker@pilgrimchristakis.com

                                                     Attorneys for Capital One Bank (USA), N.A.




                                                 2
 
     Case: 1:18-cv-02251 Document #: 29 Filed: 06/12/18 Page 3 of 3 PageID #:84



                                CERTIFICATE OF SERVICE

       Amy R. Jonker, an attorney, certifies that on June 12, 2018, she electronically filed the
foregoing Motion for Leave to Substitute Counsel with the Clerk of the Court using the
CM/ECF system, which will send notification of such filing to the following:

Alexander J. Mikulaschek, Esq.
Law Offices of Robert S. Gitmeid & Assoc., PLLC
11 Broadway, Suite 960
New York, NY 10004
Tel: (773) 869-5400
Fax: (773) 584-0907
Email: Alexander.M@gitmeidlaw.com
Attorneys for Plaintiff



                                        /s/ Amy R. Jonker




                                                3
 
